* REPORTER'S NOTE: For former opinions in proceedings arising from this joint indictment, see State v.Whitmore, 126 Ohio St. 381, 185 N.E. 547;State, ex rel. Eastman, v. Stuart et al.,Judges, 126 Ohio St. 644, 186 N.E. 735; State, exrel. Eastman, v. Stuart et al., Judges, 127 Ohio St. 167,  187 N.E. 242, 291 U.S. 643, 78 L.Ed., 1040,54 S.Ct., 455; McNary v. State, 128 Ohio St. 497
(reversing State v. McNary, 49 Ohio App. 23,  195 N.E. 243, 49 Ohio App. 31, 195 N.E. 246),191 N.E. 733; Eastman v. State, 131 Ohio St. 1,1 N.E.2d 140; State v. McNary, 53 Ohio App. 530.
It is ordered and adjudged that said appeal as of right be, and the same is hereby, dismissed for the reason no debatable constitutional question is involved in said cause.
Appeal dismissed.
WEYGANDT, C.J., STEPHENSON, WILLIAMS and ZIMMERMAN, JJ., concur.
JONES, J., not participating.